Case 8:20-mc-00014-CJC-DFM Document 17 Filed 08/21/20 Page 1 of 3 Page ID #:931
    Case 8:20-mc-00014-CJC-DFM Document 17 Filed 08/21/20 Page 2 of 3 Page ID #:932

                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES – GENERAL

continue to hang over its head somehow, it will refrain from ruling on those requests or the
deposition at this time.

       One of EVGA’s principal arguments is that the District Court in the Delaware Case
foreclosed Invensas for seeking discovery from non-parties like EVGA when it denied a motion to
compel defendant NVIDIA to produce documents from its wholly-owned subsidiaries. EVGA
argues that the reasoning of the District Court in Delaware—that these documents were
“unnecessary”—applies with equal force to Invensas’s efforts to obtain records from EVGA. See
Motion at 18 (“As a nonparty, EVGA should not have to produce its sales data to support an
inducement theory when the Delaware Court refused to compel similar discovery from a party.”).
Invensas argues that the Delaware Court’s reasoning related to its non-party foreign subsidiaries
and “in no way impacts the discoverability of the information [it] seeks from EVGA.” See Opp’n
at 19. The Court agrees. As Invensas argues, NVIDIA is potentially responsible for its own
actions, including its inducement of customers like EVGA. See id.

      The Court also agrees that the records sought by Invesnsas through Requests 1 and 2 are
relevant to its claims against NVIDIA. The evidence before the Court indicates that EVGA
incorporates into its products NVIDIA GPUs that it buys from sellers other than NVIDIA
Corporation, the defendant in the Delaware action. So the facts here are unlike a case cited by
EVGA, Itex, Inc. v. Westex, Inc., Case No. 05-6110, 2011 WL 856583 (N.D. Ill. Mar. 9, 2011),
where the evidence showed that the fabric in the garments sold by the customers was sold by the
defendant.

       This leaves the Court to wrestle with the burdens presented by the subpoena. During the
parties’ extensive negotiations that occurred before this motion was filed, EVGA offered at one
point to provide unit sales for its products that contain one or more NVIDIA GPUs between
October 2014 and the present. See Dkt. 1-12 at 23 (“EVGA is willing to produce a list identifying
EVGA products containing one or more NVIDIA chips that were in its then-current (not legacy)
line of products between October 2014 - present, as well as the number of units sold in the US for
the identified products.”). EVGA also offered to produce “weekly reports that it prepared and sent
to NVIDIA in the ordinary course of business” that “identify the total number of units of each
NVIDIA-based graphics cards shipped to EVGA’s customers by channel.” Id. at 18. The Court
believes that these proposals are a reasonable balance of Invensas’s interests in the information
and EVGA’s burden. The Court will accordingly order EVGA to produce both this list and the
weekly reports.

       The remaining information sought by Requests 1 and 2 involve EVGA’s revenues. EVGA
argues that its revenue and pricing information is not disclosed to NVIDIA and that disclosure of
this information would cause competitive harm. See Motion at 26. But as Invensas points out, the
parties in the Delaware Case have in place a protective order that includes a designation for
“Outside Attorneys’ Eyes Only,” a restriction that adequately protect EVGA’s pricing information


CV-90 (12/02)                           CIVIL MINUTES-GENERAL                Initials of Deputy Clerk: nb
                                                                                          Page 2 of 3
    Case 8:20-mc-00014-CJC-DFM Document 17 Filed 08/21/20 Page 3 of 3 Page ID #:933

                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES – GENERAL

from possible misuse by NVIDIA. The Court is thus not persuaded that revenue information
should be excluded from its order.

       For the foregoing reasons, EVGA’s motion to quash is DENIED as to Request Nos. 1 and 2
and it is ORDERED to produce within twenty-eight (28) days of this Order: (1) a list identifying
EVGA products containing one or more NVIDIA chips that were in its then-current (not legacy)
line of products between October 2014 - present, as well as the number of units sold in the US for
the identified products; (2) revenue information for those sales; and (3) weekly reports that it
prepared and sent to NVIDIA in the ordinary course of business that identify the total number of
units of each NVIDIA-based graphics cards shipped to EVGA’s customers by channel.

       The parties are further ORDERED to submit a joint status report in 90 days advising the
Court of any continued dispute related to the subpoena. If no status report is submitted, or if the
status report indicates that there is no continued dispute, this matter will be automatically closed.




CV-90 (12/02)                            CIVIL MINUTES-GENERAL                  Initials of Deputy Clerk: nb
                                                                                             Page 3 of 3
